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     CITY OF MERCED and
 7   MERCED POLICE OFFICER JEFFREY HORN
 8
 9                                    UNITED STATES DISTRICT COURT
10                                   EASTERN DISTRICT OF CALIFORNIA
11                                            FRESNO DIVISION
12
     JOSEPH CAMPOS,                        )                      Case No. 1:08-CV-00001-GSA
13                                         )
                           Plaintiff,      )                      STIPULATION OF DISMISSAL
14                                         )                      WITH PREJUDICE OF
             vs.                           )                      DEFENDANT MERCED POLICE
15                                         )                      OFFICER JEFFREY HORN AND
     CITY OF MERCED, MERCED POLICE OFFICER )                      ORDER
16   JEFFREY HORN, and DOES 1 through 50,  )
     inclusive,                            )
17                                         )
                           Defendants.     )
18                                         )
19          The parties to the above-captioned matter, by and through their respective counsel, hereby
20   stipulate as follows:
21          1.       That plaintiff JOSEPH CAMPOS’ complaint and all causes of action contained therein be
22                   dismissed with prejudice as to defendant MERCED POLICE OFFICER JEFFREY
23                   HORN, each party to bear their own attorney’s fees and costs.
24   ///
25   ///
26   ///
27   ///
28   ///

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                              STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
                                                         Case No. 1:08-CV-0001-GSA
                Case 1:08-cv-00001-GSA Document 76 Filed 06/10/10 Page 2 of 2


 1            Accordingly, the Parties jointly request the Court to dismiss Plaintiff’s complaint and all causes
 2   of action contained therein as to defendant Horn.
 3
 4            Dated: June 8, 2010.
 5                                                            LOW, BALL & LYNCH
 6
 7                                                       By     s/ Dirk D. Larsen
                                                              DALE L. ALLEN, JR.
 8                                                            DIRK D. LARSEN
                                                              Attorneys for Defendants
 9                                                            CITY OF MERCED and
                                                              MERCED POLICE OFFICER JEFFREY HORN
10
11            Dated: June 8, 2010.
12                                                            LAW OFFICE OF ERIC P. ESCAMILLA
13
14                                                       By      s/ Eric P. Escamilla
                                                              ERIC P. ESCAMILLA
15                                                            Attorneys for Plaintiff
                                                              JOSEPH CAMPOS
16
17                                                      ORDER
18            All parties and counsel are reminded that dispositional documents in light of the Notice of
19   Settlement shall be filed no later than June 28, 2010, as previously ordered.
20              IT IS SO ORDERED.
21               Dated:     June 10, 2010                        /s/ Gary S. Austin
     6i0kij                                                 UNITED STATES MAGISTRATE JUDGE
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                               STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
                                                          Case No. 1:08-CV-0001-GSA
